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Case 1

 

 

“NOA pUas [IM SM JEU] SNS OF JUHU JNOA JO pue |ESSIWSIP JO sdHOU AjUO SU] 3q

O€SE-SLELZ V1 ‘Bupuexely
OfSEL XO”_ “O'd

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$/ 7 av J L ew
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*a[quj9a[joo aq you Aew ins af nod alojaq
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SUL JO (SUORRIOIA |NJIIM 40} SIEDA €) SuUBAA Z UIUJIM LNCS S}eI$ JO [Blepal U! psjj aq ysnwi sins Wa (Wg) PV Ae [enby

 

(qualayip oq Aeul Me] a]21S Japun WIE] B UO paseg yNs Bully Jo} uu] awl] Sy;) 7S}
8q JIM S672U9 Siu] UO peseq Sns 0} ]YH INCA Jo ‘aaijou siyj Jo ydieaal InoA Jo SAV 06 NIHLIM Peils oq JSNW yinsme|
ANOA, “HNCD s}e}$ JO [esapa] ul aGieyo siyj uo paseg me] jesspe) Japun (s)juspucdsal au) jsujebe yinsme| B si}j ABW NO,
IM SIU] ty JuawAojdwy ul UOIeUIWNOSIG
aby 943 10 ‘Joy UONEUILULDSIPUON UOIJBUUOJU] D1}aUa5H ay) ‘Joy Segesiq YA SUBSAWY 24) TA eHLL

 

(UuO} Siu} 0} payoENe uopeuoju /euONIppe aut 26g)

- SLHO LINS AO ADILON -

(a7a}s Ayaug) J2u10

eBeyo siu} payebyseaui yeu; Aouabe saooeid juswAcldiwue Wey [eo] 10 ayejs ayy yo sHulpuy eu} peydope sey OO3R sul

‘afueyo siy} Aq pasies use Burney Se panssuod 8q yyBiu Jeu) senss! Jayjo Aue 0} Se apew si Burpuiy ON “SeiN}]e}S Sy}
Ulm souel|dwod Ul $! JUapUOdsal ay) yeu) ALUSd JOU SA0P SIN] “SAjN}E]Ss al] JO SUOHRIONA SaUSIqe}sa PeUeigo LOIPULOJU!
SY} }eU] Spnjouca o} ayqeun si DO4A Su) ‘uoyehyssaul sy uodn peseg -cuopeuluUsjep Buymoyjoy sup senssi OOSF aul [x]

@Gieys JNOA dj Cf UCIPEUILULOSIP
peBaye au io (s)ajep au} Jaye Buoy 00} psyem nod ‘spiom Jayjo ul ‘OOFA yWM paly Ajeui} jou sem efieyo uno,
“sajmels au} Aq pelaaco ssimJeujo JOU $110 seeAo|dwa jo sequinu palnbas suj ueU} $$3] SAO|cLUs juspuCcdseY SU]

OY Sengesig UI SuBoTOWUY aul Aq paUap $e Agesip & SA/OAU! JOU pip suoNeBalpe uno,

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BdPO Pjsl4 SUBSLO MAN wo ‘AS ‘AOUUEDIA 7] Awa 10

 

SLHDSIY JO JDILON ONV IVSSIINSIG

 

NOISSINWOD ALINALYOddO LNAWAOTdIA TWNOA “SN (SH/L1) $94 8u04 0033
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Case 1

 

"FOO SIHL OL LNIV INOS LHNOD YNOA AO AdOD V GNAS ASVATd *LINS Fst NOA sf

(sAep 06 }Keu Su} WILY apeLU

aq pinoys senbaz Aue ‘uns Buljy qiojag) “soon Sly} jo SQyUOU 9 UIYWM ysenbas maiael ANCA eye eseald ‘ally
BBY SY] ADIAS] O} JUBA PUB INS Sy NOA JI ‘GuOJSJOUL “SSBO SUZ UO UONOE }sz] INO Jaye SUJUCW g jSES| 12 10] Jdey cue
Sei SBuBuS [Je ‘eu UleLIeO B Jaye sayy eBseyo Shosep DOFT eIlUAA ‘(@O}0N NCA uO mous $e) Jequunu aBueyo snoA
apiAoid pue Bunum ul Apduioid y senbei eseaid ‘eBieyo auy uo al $, O33 ul! uoeuwojul so Adco e@ uleygo 10 pedsul
0} peeu NOA |} “@SEOINOA JeSy UBD UNOD JOUISIG "S"N Yorum UO ad|Ape Bulpnjoul ‘s}yBu jebe; inoA jnoge suoysenb

Aue @Aey Nod 4! JO JeAMe] @ Bulpull Ul djey poeu NOA 4! SoHON UNOA UO UMOYS eAqe]Uasaidel QOAA euy jeyuco Aew no,

 

ISOINIEIS HY -- FONVLSISSY DOAA GNV IVeNS4SM ASNHOLLY

“SAEP 06 UILQIM UNS BULIG 0} JUsWaUINbo ayy Jo NOA SAsl|au JOU op sisenba: yons esnecaq

‘aaoge psuoluau! poued Aep-96 8uU} JO Pue au} aJOJSq ||em apewW eq pinoUs sjsenbay “(AsuioRe ue uUleyel O} SLOYe
ANOA |lelep ul ulejdxe o} paiedeid aq pinoys noA) sainbe ji JeuUeW pUue LUO) Sy] Ul LINGD jOUISIG “S'N SY) 0} Spew

aq ]SNU) SoUR\sisse YOns JO sjsenbay usAme; e Bulureyqo u| Nod jsisse ‘seoueysuunouo pay) ui ‘ABU esed INOA Ul
uonoipsyn{ Buiwey yned POUsig *S'A au} ‘NCA jusseudel oO} JeAME] B LUIBIQO 0} ajqeuN Useg SsABY JO Ploye JouUeD NOA I}

‘WNID 40 Wav 2ul ‘JIA OREL -- NOMVINSSSYdSy AZNYOLLY

pouiad fueaooe: Aed yoeg Wd5j 1eeA-¢ JO -Z BU} UIUJIM DUE BOON Siu} JO SAEP O6 UIYLAA payy eq JSMW jins ‘wie}o
Wg Su) uo Bujns o} UoNIppe Ul ‘VAdV 2u} 10 YNID ‘WO Ou} ‘IIA SULL Jepun ens 0} eld ose noA JI ‘suojeieu
“BAOGE 0} Pavales WACV 8U} 0 YNIO ‘VOY OUR ‘TIA SILL Japun poyed Suyy Aep-06 eu} Woy eesedes si yIns

Vda ue Buljy so) yuu] Swan sIyL “goO7 Ainf JO enp sabem pledun Jeacsei 0} Jepso Ul ~- OL/L/ZL JOU — OLL/Z Sojeg
HNS dy pinous NOA ‘gO/L/ZL Cl QO/L/Z WOl, PSBUUOLEd yom JOL Wz au} Jepun prediapun siem NOA 4) ‘ajdwexa

JO4 “a[gQnoa|}oo 8q jou ABw Uns ayy NOA alojoq (SIBSK €) SIBSA Z UPL} duOW PS1NDOO JEU} SUONBIOIA JO anp Aed
yoeg juswAedepun Wy pabere ay} Jo (SUOBIOIA [NIM JOL sea ¢) suB|A Z LIYIAA UNOS Ul peli] oq JsNW sins V¥q3

wda) pv Aedyenby -- = SLHOMY LINS ALVAIdd

“nok 10} sucisiosp ABsjesjs je6a] Syeu 10

jurejd los JNOA Sil 01 SOO eu} jOSsdxe Jou Op ng ‘ns BuiBuig ese nod SJSyM NOD Sy] JO YJajO BU} JO SOO Bui
Wwod sigmsue 1986 ues Ajjensn nod ‘suoysenb ajdujs saey Nod j| “SsOyWJo ULE Sy] Sey JUSPUOdsaI Sy} Saya JO ‘Laaq
BABY pjNom JUSWAOdLUS Sy] sieyM ‘dey are spiodel JuaAO|dWwa JUeAs|a1 SiaUM JYyHNoIg eq UBD Sesed eluCS

ui nq ‘pauinsooe sonoeid jnprejun peBbeye ayy aisumM ayes au} uj jyUBnolg sue syns ‘Ajjeseusg ‘sfseyo au} ul pabaye
SISYEW BU] O] Peyejal JO ay!| suse ‘Suoisioep Linco Aq paliwed jua}xe ey} o} ‘Wo abeyo su} ul peHaye vayew Aue
spnjoul ABW YINS JNOA “ULI JO syep e Sapnjou! sHyeyo eu] esau yule|diuod unoA Jdeooe JOU j|IM SUNOS aos ‘abieyo
QU} WoL) atep Yyiq unoOA Ssaowe pjnoys NOA ‘os ff “NOD ul aly NOA uIE;|dUUOS ay Co} pauseye sq jsnw aBseys unoA

fo Adoo © yeu auinbay uspo sunog "yaljad 0} payue sve noA leu] SmoYs YO!UM eSed INCA JO $}OBJ aU} JO JUSWA}e]s
UOYs & suie]uod JB) ,JUIe|duo9,, B aj smu No, “UBnoue JOU Ss! eclion Siu) Burl4 “Aeusoye unoA 0} Bure} seye
ApPloSsp 0] NOA JOY JEYSW B S$} NOD SyeYS JO peISpai ul Sj NOA JeujaupA (UNO [eLI} |IAIO jessUSB Su} $! pines ajeyS
ajyeudoidde euy ‘Ailensm) “uonolpsun! yusjeduos yo noo aye] 2 Jo UND JOLISIQ "S'/f Ul Pally aq ACW jinsme] nod

“Je}2| JI euqsod sy) jo sjep ay} io (pauBis si soon au} sieUM pelesipul

Se) NOA 0} payleul SBM S1}ON SIU} ayBp dy} LO SABp 06 ULYJIM Daly aq WINS JNOA Jeu] JuSpnud si Yl ‘WauUeW

Aj@uwl} @ Ul JOR JOU pip NOA yeuy UoTsenb Aue ploae oO} JapsO Ul ‘QuOWWeYN “YW psalaoel noA ayep ou} Jey JO WY

18} pue ‘edojeaua S$} pue ‘adK}ON stu to Adoo e Aausoye nod saig “Ayjduwoid os op pinoys nod ‘Aswoye ue ynsuos
O} puayul NoA Jf SO} Sq |[IM SOLON SIU} Ul O} pauejes eBreyo sy} UO paseg ans 0} JUHI INOA ‘aA s| poled Aep

-06 SIU] GUO “@}ep SIY} Jo p1oded B daey pinous nod ‘aiosasou] “eONON Siu} easadou NOA ayep ay} Jo SAEP 06
UIYIM abeyo 3} ul paweu (s)juapuodses ay] jsurebe ynsme] e ay jsnwu nod Vaypny Jaye siy] ansind 0} Japuo uj

 

(vay) Py JuewAo}dwy uy uoReULULOSIq
aby au Jo ‘(yNID) }OV UOReUIWZSIPUON UOHEUUOJUT DEED aU}
‘(vay) 32V Seniigesig YjIM suesHewy au) Joy siYBry WAI ay sornemy ~ SHO LINS Siva
(*nofeg pequosep esouy ueY} payiuils BsOLU JO JaLIOYS ag ABI ME} 8JB]g Jo SUOISIAOId
JaujO pue Syl] au] Jey] arene aq aseajd ‘Me} ayels Jo SuoneOIA BuNUIe}O ans 0} UEC Os}e NOA Jf
Tae] feTapa_] JEPUN PND a}8IS JO jesapal ul yns Burpy O] Sajejad UONBuLOjut Sit)

93034 AHL Ad G2DaOANZ SAAV"] SHL YSGN

AINS ON OL GSALV1SY NOLLVAYOIN]

(Si/LL) Lg} WO
D033 WIM ainsojoug
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“Tjo SUOMENSST ATIGUSIp SSAAT/SMET/AOS 0000 MMM /-CY ye a[qeiteae ‘suoweorjqnd sioyeueydxa
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ue Jo ssnBIeq aye) sem BOND" yWIUTAOTdUAS Ue FI AIYIGeSTP JO UOTITUIap oy] JOST Wed [enplAIpUr Uy ¢

1ASEAVAOD SB PIPALSIY,,

“squom

XIS WBY} AaMay Ise] CO} poloedxe SI Io s]sey 1 YSNOY) waas Suny AyjeEyURsqns oq Av juaNedaiuy <
“SAIIIE SYA SULT AYEULIsqns 9q plnoss jt Ji Aysyiqesip e si (sous

‘S'0) , WOISsIWIIA UI,, IO (StIsosatos afdyynur WoIsseidaep ‘Asdapide “S-2) ,otposida,, st yey] yusunredun uy «

“AMATO aft] Jofew e syrumy Ayjenuesqns wounredut oy] Jt SUIUTLALAJSp UT pezeprsu0d

jou aie (suoTIesTIpour jeroraeyeq ‘Adeioy1 ‘uonesrpow ‘sisoyjsoid “pre SuLIwey “B°9) ,,sainsvour

SUSHI, Jo syIaIJo [eLayauaq sayy ‘sosuayT JowJWOS IO sasse[sado Areurpio Jo uoydeoxe oy YITA\

“pow AyTenueisans 3q peau AWANoe ayy Jofeu aue AjuQ

‘masks Apog B UTyIM

UeSIO TENPIAIPUL We Jo UoTerado ay] Io ‘suoyoUTy aANOnpoidel pue ‘eyaTaysomosntu ‘oneydurdy ‘ormey

‘guuoopus “Ie[noseaorpreo ‘Aroyernomo ‘Aroyerdsei ‘ureiq ‘Jeolsojomoeu ‘1appeyq ‘Jamoq ‘AreuLmMo Mes

‘QAISOSIP pUe SWIMOIS [[99 [eUOU ‘UTIs pue suRsIO ssuas [eIads “wojsds SUNUIMI sj Jo storouny

se Yons ‘suoyouny Appoq iofeur jo noyexedo ey} apn sou ,samagoe ayy rofem,, “(ZT OCOT

§ Wad 6¢ 1 satdurexs arow) Suneomunuos pue ‘Sutpueq ‘Sutpesl ‘Sunenusouocs “Supyparg) “sunesy

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(AUTGESIP & JO P1VIOI,, 10 ,JeNJd¥,, Joye 10F sprvpuL}s 943 Jou ys NOA
WIL] aJepOTMAM0IIE 0} SaNnpEy & Sumsand are nod Jr :ajou) AIGesIp & ,Jo px0daI,, B10 AUPIGESIP ,.JeNV,,

 

“Mj SUONe[NseL APG eSIp/SIA}/SMEL/A00 J000 MAA//203}q
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puy SuOHe[NSer pepuome dq) j[MstOD oGs TO oy eq} ySoDoNS pu AAMIOWe AMOA QilM OOHeMIOjUL
SIG} aIvYs NOA Jey} PUStiMiodsl 3M “HIE[D YW INOA JIM NOA jsisse 0} AdUAOe Ue Ulejol OF Wel MOA J]

 

 

 

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yey) JueuuTedumt yeyeut 10 Jeorsdyd v (T) se peuLjep [THs st ATIqesIp VY VVVCV/VAV ou) Jopum paroaos oq
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sem VOV eGL (¥WVMV) 8007 JO LOV SINDWGNANV VOV FHL YANN SLHDT AO TOLLON
